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AO245          (Rev. 09/19) Judgment



                                       UNITED STATES DISTRICT COURT
                                                        Western District of Washington
               UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                          v.
                                                                             Case Number:              2:20CR00105JCC-002
                        Kenneth John Rhule
                                                                             USM Number:               12247-122
Date of Original Judgment:               05/31/2022                          Peter Offenbecher/Barry L. Flegenheimer
(Or Date of Last Amended Judgment)                                           Defendant’s Attorney
Reason for Amendment:
  
  Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))               Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
  
  Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))      Modification of Imposed Term of Imprisonment for Extraordinary and
  
  Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           Compelling Reasons (18 U.S.C. § 3582(c)(1))
6Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)             Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                Direct Motion to District Court Pursuant
                                                                                    28 U.S.C. § 2255 or                       18 U.S.C. § 3559(c)(7)
                                                                                Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
6 pleaded guilty to count(s) 8 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                                          Offense Ended          Count
21 U.S.C. §§ 841(a)(1),         Conspiracy to Manufacture or Distribute Marijuana                                           07/15/2020              8
841(b)(1)(C), and 846




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
   Count(s)                               is          are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.
                                                                             V3KLOLS.RSF]\QVNL
                                                                             Assistant United States Attorney
                                                                             June 9, 2022
                                                                             Date of Imposition of Judgment


                                                                             Signature of Judge

                                                                             John C.
                                                                                  C Coughenour
                                                                                     Coughenour, Unit
                                                                                                 United States District Judge
                                                                             Name and Title of Judge

                                                                              June 9, 2022
                                                                             Date
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DEFENDANT:                    Kenneth John Rhule
CASE NUMBER:                  2:20CR00105JCC-002
                                                       IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
60 months

6 The court makes the following recommendations to the Bureau of Prisons:
       BOP Facility: Camp at Herlong, California
       RDAP Placement recommended*
6 The defendant is remanded to the custody of the United States Marshal.
      The defendant shall surrender to the United States Marshal for this district:
            at                           a.m.        p.m.   on                                                   .
            as notified by the United States Marshal.
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            before 2 p.m. on                                          .
            as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on                                                     to
at                                          , with a certified copy of this judgment.



                                                                                    UNITED STATES MARSHAL

                                                                 By
                                                                                DEPUTY UNITED STATES MARSHAL
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DEFENDANT:               Kenneth John Rhule
CASE NUMBER:             2:20CR00105JCC-002
                                              SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
3 years

                                           MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
    of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
              future substance abuse. (check if applicable)
4.       You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
         of restitution. (check if applicable)
5. 6 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
         § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.
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 DEFENDANT:               Kenneth John Rhule
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                                     STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These
 conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
 the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
 in your conduct and condition.
 1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
      of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
      within a different time frame.
 2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
      how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
      permission from the court or the probation officer.
 4.   You must answer truthfully the questions asked by your probation officer.
 5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
      living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
      change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
      the probation officer within 72 hours of becoming aware of a change or expected change.
 6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
      probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
      excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
      the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
      (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
      change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
      you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
 8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
      has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
      the permission of the probation officer.
 9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
      anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
      such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
      informant without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation
      officer may require you to notify the person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
 of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
 and Supervised Release Conditions, available at www.uscourts.gov.

 Defendant’s Signature                                                                       Date
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DEFENDANT:               Kenneth John Rhule
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                                    SPECIAL CONDITIONS OF SUPERVISION


1. If the defendant maintains interest in any business or enterprise, the defendant shall, upon request, surrender
   and/or make available, for review, all documents and records of said business or enterprise to the probation
   office.

2. The defendant shall provide the probation officer with access to any requested financial information including
   authorization to conduct credit checks and obtain copies of the defendant’s federal income tax returns.

3. The defendant shall participate as instructed by the U.S. Probation Officer in a program approved by the
   probation office for treatment of narcotic addiction, drug dependency, or substance abuse, which may include
   testing to determine if defendant has reverted to the use of drugs or alcohol. The defendant shall also abstain
   from the use of alcohol and/or other intoxicants during the term of supervision. Defendant must contribute
   towards the cost of any programs, to the extent defendant is financially able to do so, as determined by the
   U.S. Probation Officer. In addition to urinalysis testing that may be a part of a formal drug treatment program,
   the defendant shall submit up to eight (8) urinalysis tests per month.

4. The defendant shall submit his or her person, property, house, residence, storage unit, vehicle, papers,
   computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices
   or media, or office, to a search conducted by a United States probation officer, at a reasonable time and in a
   reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition
   of supervision. Failure to submit to a search may be grounds for revocation. The defendant shall warn any
   other occupants that the premises may be subject to searches pursuant to this condition.
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DEFENDANT:                  Kenneth John Rhule
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                                          CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment               Restitution               Fine                     AVAA Assessment*          JVTA Assessment**
TOTALS          $ 100                     $ N/A                     $ Waived                  $ N/A                     $ N/A

     The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
     will be entered after such determination.
     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                         Total Loss***                Restitution Ordered              Priority or Percentage




TOTALS                                                       $ 0.00                                $ 0.00

        Restitution amount ordered pursuant to plea agreement $
        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             the interest requirement is waived for the     fine             restitution
             the interest requirement for the      fine          restitution is modified as follows:

6       The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
        of a fine is waived.

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
    offenses committed on or after September 13, 1994, but before April 23, 1996.
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DEFENDANT:                 Kenneth John Rhule
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                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

6       PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
        Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

       6 During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
              whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

       6 During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
              monthly household income, to commence 30 days after release from imprisonment.

          During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
              household income, to commence 30 days after the date of this judgment.

        The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
        penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
        defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
        material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several         Corresponding Payee,
  (including defendant number)                                  Total Amount                   Amount                   if appropriate



   The defendant shall pay the cost of prosecution.

   The defendant shall pay the following court cost(s):

6 The defendant shall forfeit the defendant’s interest in the following property to the United States:
     See Order of Forfeiture at Dkt. No 146


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
